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DNJ-CR-022 Order Regarding Use of Video Conferencing/Teleconferencing (Rev. 10/2021)
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                                 UNITED STATES DISTRICT COURT
                                )257+(DISTRICT OF NEW JERSEY

UNITED STATES 2)$0(5,&$        *
                                *
    v.                          *      CRIM. NO. 21-mj-6037
                                *
ANTONIO DELANEY                 *
                                *
                              *****
  ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING

         In accordance with WKHRSHUDWLYH&29,'Standing OrderVthis Court finds:
   ✔      That the Defendant (or the Juvenile) has consented to the use of video

teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation

with counsel; and

The proceeding(s) held on this date may be conducted by:
   ✔      Video Teleconferencing

          Teleconferencing, because video teleconferencing is not reasonably available for the

following reason:

                   The Defendant (or the Juvenile) is detained at a facility lacking video

         teleconferencing capability.

                  Other:




Date: Oct 6, 2021
                                                                        Honorable Douglas E. Arpert
                                                                        United Sta
                                                                               States
                                                                                 ates Magistrate
                                                                                      Magistrat   Judge
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